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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


RUSS McCULLOUGH, et al.,                  : NO. 3:15-cv-01074-VLB
                                          : LEAD CASE
                   Plaintiffs,            :
                                          :
VS.                                       :
                                          :
WORLD WRESTLING ENTERTAINMENT,            :
INC.,                                     :
                                          :
                   Defendant.             :


JOSEPH M. LAURINAITIS, et al.,            : NO. 3:16-CV-01209-VLB
                                          : CONSOLIDATED CASE
                   Plaintiffs,            :
                                          :
VS.                                       :
                                          :
WORLD WRESTLING ENTERTAINMENT,            :
INC., et al.,                             :
                                          :
                   Defendants.            : NOVEMBER 5, 2018


     DEFENDANTS WORLD WRESTLING ENTERTAINMENT INC. AND VINCENT K.
       MCMAHON’S REPLY MEMORANDUM IN FURTHER SUPPORT OF THEIR
         APPLICATION FOR ATTORNEYS’ FEES ORDERED BY THE COURT

        Defendants World Wrestling Entertainment, Inc. (“WWE”) and Vincent K.

McMahon respectfully submit this reply memorandum in further support of their

application (“Application”) for attorneys’ fees and costs incurred in connection

with their motions for sanctions regarding Plaintiffs’ Complaint and First

Amended Complaint (“Motions for Sanctions”).

I.      INTRODUCTION

        Attorney Kyros’ conduct following Defendants’ filing of the Application

further underscores that he will not be deterred unless the Court awards
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Defendants the full amount of the attorneys’ fees and costs sought in the

Application and considers referral to the disciplinary committee.

      The day after the Application was filed, Attorney Kyros posted on his

website an article that continues his baseless, unfair, and dishonest attacks on

the Court, Defendants’ counsel, and the sanctions orders, and ominously

includes the depiction of a gun beneath the headline:




(See Ex. A.) Whether intended as a threat or simply a display of extraordinary

lack of judgment, the use of a gun in any description of a Court order is wildly

inappropriate. Instead of acknowledging the misconduct causing the sanctions

order, Attorney Kyros proceeds to falsely accuse Defendants’ counsel of

“fanaticism, belligerence, and sharp practice” and the Court of “ignoring” the

Plaintiffs’ claims and legal rights:

      The Court in its ruling dismissing the claims of these women and
      men ignored the wrestlers’ legal rights to a safe workplace. The
      court ignored the wrestlers’ rights to be treated under the law as
      employees. The court ignored the claims of families of some of the
      most famous athletes ever diagnosed with CTE including Mr. Fuji
      and Jimmy Snuka. The court ignored the fact that WWE actions and
      inactions have led to a tragic epidemic of suicides, drug and alcohol
      addiction, overdoses and total health crisis that has engulfed the
      wrestling community.

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(Id.)   As set forth in the Application, Attorney Kyros’ attacks on the Court

following its recent decisions are inappropriate and baseless. The Court carefully

and thoroughly considered Plaintiffs’ claims and determined that “dismissal with

prejudice is warranted because the Laurinaitis claims are either barred by this

Court’s prior rulings, time-barred, or frivolous.” (Doc. No. 383 at 21.)

        Attorney Kyros’ opposition to the Application (“Opposition”) further

confirms that his misconduct has not been deterred by the sanctions orders.

    •   The Opposition fails even to address Attorney Kyros’ unprofessional and
        unethical attacks on the integrity of the Court. Having no defense to such
        further misconduct, he offers none.1

    •   The Opposition argues that Attorney Kyros should not be required to pay
        the requested fees because “there is no sanctionable conduct” despite the
        Court’s order finding his conduct to be sanctionable and awarding such
        fees. (See Opp’n at 10.)

    •   The Opposition falsely accuses Defendants of “clearly abusive tactics
        against Plaintiffs’ Counsel throughout this litigation” despite the fact that
        Attorney Kyros is the one who has been sanctioned for his abusive
        practices throughout this litigation. (See Opp’n at 3.)

    •   The Opposition bizarrely accuses Defendants of acting in “bad faith” based
        on an entirely fictional storyline from a WWE television program in
        violation of this Court’s prior rulings admonishing Attorney Kyros for
        making irrelevant allegations based on fictional storylines. (See Opp’n at
        3; Doc. No. 383 at 13 n.1; Doc. No. 362 at 7-8.)

    •   The Opposition asks the Court to reward Attorney Kyros’
        “accomplish[ments] as demonstrated in the record” even though he has


        1
       Attorney Kyros instead moved to strike the description of his attacks on
the Court. A motion to strike cannot be used to strike material from a party’s
brief. See Carman-Nurse v. Metro. Dist. Comm'n, No. 3:16-CV-1987, 2018 WL
3935025, at *6 (D. Conn. Aug. 15, 2018) (motion to strike “only applies to
pleadings, and not to briefing in support or opposition to a motion”). Moreover,
Defendants’ inclusion of this information in the Application demonstrates that
Attorney Kyros still has not been deterred by the entry of sanctions.

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      accomplished nothing in this litigation other than to cause Defendants to
      incur substantial fees defending frivolous claims. (See Opp’n at 14.)

      In summary, Attorney Kyros fails to take any responsibility for his own

misconduct that led to the sanctions order and instead continues to deflect blame

on the Court and the Defendants for the harm that he alone has caused.

Accordingly, an award of the full amount of fees requested is necessary to deter

Attorney Kyros, and a disciplinary referral should be considered.

II.   ARGUMENT

      A.    An Award of the Full Amount of Fees Is Necessary for Deterrence

      Attorney Kyros erroneously argues that “[t]he purpose of these sanctions

should not be to abuse or penalize Plaintiff’s counsel, but merely to address

reasonable reimbursement for two sanctions motions.” (Opp’n at 2.)

      It is well-established that the purpose of sanctions is to punish and deter.

See Fed. R. Civ. P. 11, Adv. Committee Note (1993 Amendment) (“the purpose of

Rule 11 sanctions is to deter rather than to compensate”); Pavelic & LeFlore v.

Marvel Entm’t Group, 493 U.S. 120, 126 (1989) (the purpose of Rule 11 “is not

reimbursement but ‘sanction’”); Cooper v. Salomon Bros. Inc., 1 F.3d 82, 85 (2d

Cir. 1993) (“Rule 11 sanctions are often punitive or aimed at deterrence”);

McMahon v. Shearson/Am. Exp., Inc., 896 F.2d 17, 21 (2d Cir. 1990) (the goals of

Rule 11 sanctions include “punishment for violation of the Rule, compensation

for victim[s] of the violation and deterrence of others”); Bridgestone/Firestone,

Inc. v. Recovery Credit Services, Inc., No. 93 CIV. 168, 1997 WL 225813, at *5

(S.D.N.Y. May 5, 1997) (“Sanctions under Rule 11 are designed to punish

improper conduct and to deter others from engaging in similar conduct”).


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      In addition, more severe sanctions are necessary to serve the purpose of

deterrence in cases of repeated misconduct by a party or an attorney. See Fed.

R. Civ. P. 11, Adv. Committee Note (1993 Amendment) (what amount “is needed

to deter that person from repetition in the same case” and “what amount is

needed to deter similar activity by other litigants” are considerations in

determining the amount of the sanctions to impose); Chambers v. NASCO, Inc.,

501 U.S. 32, 56–57 (1991) (upholding conclusion that “full attorney’s fees were

warranted due to the frequency and severity of Chambers’ abuses of the judicial

system and the resulting need to ensure that such abuses were not repeated”);

Macolor v. Libiran, No. 14-CV-4555, 2015 WL 1267337, at *4–5 (S.D.N.Y. Mar. 18,

2015) (imposing additional monetary sanctions and referring counsel to

disciplinary authorities where “previous sanction was plainly insufficient to deter

[counsel’s] continued misconduct.”); Ahmed v. Gateway Group One, No. 12 CIV.

0524, 2012 WL 2061601, at *5 (E.D.N.Y. Jun. 7, 2012) (imposing additional

monetary sanctions under Rule 11 because counsel “has not been deterred in the

past by having to pay his opponent's attorneys’ fees”); see also Gfeller v. Doyne

Med. Clinic, Inc., No. 2:14-CV-01940, 2015 WL 5210392, at *9 (D. Nev. Sept. 3, 2015)

(“[W]hen an attorney fails to alter her course of conduct despite previous orders

admonishing or sanctioning her, courts impose progressively harsher sanctions

in an attempt to obtain the deterrent effect sought.”).

      In this case, the Court repeatedly warned Attorney Kyros about the

potential for sanctions for his misconduct and has now sanctioned him twice, yet

his dishonesty continues. A small sample of the warnings given to him follow:



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    •   On November 10, 2016, Judge Bryant “admonishe[d] Kyros and his co-
        counsel to adhere to the standards of professional conduct and to
        applicable rules and court orders lest they risk future sanction or referral to
        the Disciplinary Committee of this Court.” (Doc. No. 253 at 27-28).

    •   On September 29, 2017, Judge Bryant instructed Attorney Kyros that if he
        failed to file an amended complaint in compliance with the Federal Rules of
        Civil Procedure, the Laurinaitis case would be dismissed with prejudice
        and the Court would “revisit whether to award attorney’s fees as a sanction
        on the Laurinaitis Plaintiffs’ counsel.” (Doc. No. 362 at 22.)

    •   On February 22, 2018, Judge Richardson recommended that Attorney
        Kyros “be subject to significant sanctions in the hope of deterring further
        abuses of the discovery process” and warned “plaintiffs and their counsel
        that any further suggestion of dishonesty throughout this litigation could,
        and likely should, result in much more dramatic sanctions up to and
        including the dismissal.” (Doc. No. 371 at 3 n.2) Judge Bryant adopted
        Judge Richardson’s recommendation and ordered Attorney Kyros to pay
        all of WWE’s legal fees in connection with its motion for sanctions in the
        Singleton case. (Doc. No. 376.)

    •   On September 17, 2018, Judge Bryant recognized that “[t]he Court has
        been extremely forgiving of Attorney Kyros’ and his appearing co-
        counsels’ highly questionable practices throughout this case, in an effort
        to give each wrestler a fair hearing. However, despite second, third, and
        fourth chances to submit pleadings that comply with Rules 8, 9, and 11,
        Attorney Kyros has persisted in asserting pages and pages of frivolous
        claims and allegations for which he lacked any factual basis. He was
        warned that if he continued to do so this case would be dismissed, and he
        ignored this warning. Attorney Kyros has offered the Court no reason to
        believe that if given a fifth, sixth, or seventh chance, he would prosecute
        this case in a manner consistent with the Federal Rules of Civil Procedure.”
        (Doc. No. 383 at 37-38.) Accordingly, Judge Bryant held that “only the
        award of attorney’s fees and costs would deter Attorney Kyros from
        committing future violations of Rule 11” and ordered Attorney Kyros and
        his Law Offices to “pay all of the legal fees that the Defendants reasonably
        incurred in connection with both of their Motions for Sanctions.” (Id. at 38.)

        The Court’s repeated warnings and admonitions prior to imposing

sanctions and its actual imposition of sanctions on two separate occasions have

been ineffective at deterring Attorney Kyros. As detailed above, Attorney Kyros’

misconduct has continued even after the entry of sanctions orders and the filing



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of this Application. Accordingly, an award of the entire amount of fees and costs

requested by Defendants is necessary for effective deterrence. See Telesco v.

Fireman’s Fund Insurance Company, No. 17CV710, 2018 WL 4426015, at *3 (D.

Conn. Sept. 10, 2018) (an award of the full amount of fees was necessary to serve

“Rule 11’s purpose to deter frivolous and harassing litigation”); Offor v. Mercy

Med. Ctr., No. 215CV2219, 2018 WL 4124488, at *3 (E.D.N.Y. Aug. 29, 2018)

(holding that the “only way to deter such misbehavior in the future is requiring

[plaintiff’s counsel] to bear the full costs of the fees incurred by the Defendants”);

Bridgestone/Firestone, Inc., 1997 WL 225813, at *5 (awarding full amount of

attorney’s fees to punish “reprehensible conduct and deter others”).

      B.     The Amount of the Requested Fees Is Reasonable

      Attorney Kyros acknowledges the basic premise of Connecticut law that

the attorneys’ fees paid by a sophisticated client are presumed to be reasonable

both with respect to the hours worked and the rates charged. See Wells Fargo

Bank, NA v. v. Konover, No. 3:05-CV-1924, 2014 WL 2908596, at *5 (D. Conn. Aug.

8, 2014) (“under Conneticut law, evidence of the fees and expenses [a party]

actually incurred creates a presumption that such costs were reasonable”); see

also Simmons v. N.Y.C. Transit Auth., 575 F.3d 170, 174 (2d Cir. 2009) (“[t]he

presumptively reasonable fee boils down to ‘what a reasonable, paying client

would be willing to pay’”). Although Attorney Kyros suggests that this principle

should not apply because Defendants anticipated receiving its fees from the

outset of this litigation (Opp’n at 5), Defendants obviously could not have known

that they would be reimbursed for any of their fees until Judge Bryant entered



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orders sanctioning Attorney Kyros and awarding Defendants the fees incurred in

connection with their Motions for Sanctions.      Accordingly, Defendants always

had an incentive to litigate this case efficiently and cost-effectively.        See

Diplomatic Man, Inc. v. Nike, Inc., No. 08 Civ. 139, 2009 WL 935674, at *6 (S.D.N.Y.

Apr. 6, 2009) (“[T]he fact that [defendant], a highly sophisticated business client,

has paid these bills” is “evidence of the reasonableness of the amount as a

whole” since defendant “could not have assumed that it would be reimbursed in

full, or even in part.”); Telenor Mobile Commc’ns AS v. Storm LLC, No. 07 Civ.

6929, 2009 WL 585968, at *6 (S.D.N.Y. Mar. 9, 2009) (“This is not a case in which

[plaintiff] can have assumed that it was litigating on [defendant’s] ticket” and

“[plaintiff’s] willingness to incur the costs must primarily have been based on

what it believed was necessary and proper in an effort to prosecute its case.”).

               1.   The Hourly Rates Are Reasonable

      Attorney Kyros does not appear to challenge the reasonableness of the

hourly rates charged by K&L Gates LLP and Day Pitney LLP and paid by

Defendants. The Court in Konover found the standard rates charged by Day

Pitney LLP attorneys to be reasonable, and the hourly rates charged by K&L

Gates LLP are within the range of rates charged by Day Pitney LLP and

comparable firms in Connecticut.2 (See Doc. No. 386-1 at 5; Doc. No. 386-2 at 4.)



      2
          Attorney Kyros states that “[o]ut-of-district counsel are subject to the
hourly rates consistent within the District of Connecticut” (Opp’n at 6), but the
Court is not required to apply the forum rule in the context of attorney’s fees
awarded as sanctions. See Ceglia v. Zuckerberg, No. 10-CV-00569A F, 2012 WL
503810, at *8 (W.D.N.Y. Feb. 14, 2012) (“[T]he court has discretion to use out-of-
district rates in fixing the amount of an attorney's fee awarded as a sanction.”).


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Accordingly, there is no claim and no basis to claim that the hourly rates paid by

Defendants were unreasonable.

            2.     The Hours Worked Are Reasonable

      Attorney Kyros’ claim that the hours spent on various categories of work in

connection with the Motions for Sanctions were excessive ignores the reasons

for and scope of the Court’s sanctions order.

      Research and Motion Practice on NFL Complaint: Attorney Kyros argues

that Defendants should not be reimbursed for their efforts detailing his many

patently false allegations plagiarized from the NFL lawsuit because “[t]here is no

sanctionable conduct for detailing the similarities between the two lawsuits.”

(Opp’n at 10-11.) The false allegations plagiarized from the NFL lawsuit were a

central part of both Motions for Sanctions (Doc. No. 229 at 23-24; Doc. No. 263 at

10-13), and the Court expressly relied upon those arguments in its sanctions

order (Doc. No. 383 at 11-12).   Because the fees for work on this issue were

incurred in direct connection with the Motions for Sanctions, Defendants are

entitled to recover them under the Court’s order. (See Doc. No. 383 at 38.)

      Research and Motion Practice on Plaintiffs Who Were Still Performing:

Attorney Kyros argues that Defendants should not be reimbursed for their efforts

demonstrating that he had asserted frivolous claims on behalf of 18 Plaintiffs who

continued to actively wrestle after they filed this lawsuit because the Plaintiffs

were not provided with an opportunity to prove their claims through “fact

discovery and trial.”   (See Opp’n at 9-10.)    Attorney Kyros again ignores that

Defendants argued in their Motion for Sanctions that the claims of Plaintiffs who



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continued performing despite their allegations in this lawsuit were frivolous (Doc.

No. 263 at 39-40) and that the Court held that none of the Plaintiffs were entitled

to fact discovery or trial because of their “frivolous” claims. (Doc. No. 383 at 21,

35, 37-39.) Because the fees for researching and briefing this issue were incurred

in connection with the Motions for Sanctions, Defendants are entitled to recover

them under the Court’s order. (See Doc. No. 383 at 38.)

      Research and Motion Practice on the Validity of Contracts: Attorney Kyros

argues that Defendants should not be reimbursed for research and briefing on

Plaintiffs’ unconscionable contracts claim because “[n]o fact discovery was

permitted” on this claim and “there is no evidence on the record that establishes

sanctionable conduct relating to this claim.” (Opp’n at 11.) Once again, Attorney

Kyros ignores that Defendants had argued that the unconscionability claim was

frivolous and time-barred in their Motion for Sanctions (Doc. No. 263 at 31, 35, 41)

and that the Court expressly held that the “unconscionable contracts claims are

frivolous” and “time-barred” in its ruling (Doc. No. 383 at 28). Because fees for

researching and briefing the unconscionable contracts claim were incurred in

connection with the Motions for Sanctions, Defendants are entitled to recover

them under the Court’s order. (See Doc. No. 383 at 38.)

      Redaction of Client’s Business Information:      Attorney Kyros incorrectly

argues that Defendants should not be reimbursed for fees for redacting exhibits

to their Motions for Sanctions.    (Opp’n at 11-12.)   Defendants included many

exhibits with their Motions for Sanctions, including contracts that demonstrated

that at least 20 Plaintiffs released the claims asserted in this lawsuit.    These



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contracts required redaction in order to safeguard the confidentiality of WWE’s

proprietary business information. Because fees for redacting these exhibits were

incurred in connection with the Motions for Sanctions, Defendants are entitled to

recover them under the Court’s order. (See Doc. No. 383 at 38.)

      PowerPoint Presentation:      Attorney Kyros’ argument that Defendants

should not be reimbursed for fees incurred in preparing a PowerPoint

presentation for use during the all-day hearing on the Motions for Sanctions is

incorrect and disingenuous. (See Opp’n at 8-9.) Attorney Kyros’ claim that the

PowerPoint presentation involved “clerical work” ignores that substantial

attorney time was required to develop, organize, and present the content of the

presentation. His claim that the PowerPoint presentation was “unnecessary and

superfluous” conveniently ignores that he also used a PowerPoint presentation

at the hearing and believed that it would be beneficial to the Court.3 Defendants

should not be penalized for using a tool that both sides believed would facilitate

their arguments to the Court and aid in its understanding of the issues.

            3.     Day Pitney LLP’s Fees Are Reasonable

      Attorney Kyros’ attacks on the reasonableness of Day Pitney LLP’s fees

are baseless and unfounded. (See Opp’n at 12-13.)

      First, Attorney Kyros argues that Day Pitney LLP’s fees should be reduced

for a purported lack of contemporaneous time records in reliance on cases in

which a party did not submit any invoices or billing statements. See Scott v. City


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       Unlike the Defendants, however, Attorney Kyros had technical issues with
his PowerPoint presentation, resulting in a substantial delay of the hearing that
wasted the time of both the Court and Defendants’ counsel.


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of New York, 626 F.3d 130, 134 (2d Cir. 2010) (no records provided); New York

State Ass’n for Retarded Children, Inc. v. Carey, 711 F.2d 1136, 1147 (2d Cir. 1983)

(only some records provided).      In contrast to those cases, Day Pitney LLP

supplied invoices with contemporaneous time entries for all of the claimed fees in

connection with the Motions for Sanctions. (See Doc. No. 386-2 at Ex. A.)

       Second, Attorney Kyros improperly argues that Day Pitney LLP’s fees

should be reduced for block billing. The Day Pitney LLP invoices specifically

allocate the amount of time spent to the tasks relating to the Motions for

Sanctions so that the Court can determine the reasonableness of those fees,

thereby eliminating the concern with block billing.

       Third, Attorney Kyros’ criticism of Day Pitney LLP’s work in connection

with the Motion for Sanctions as “administrative and clerical” is unfounded. It is

readily apparent from a review of the invoices that nearly all of Mr. Mueller’s time

was spent researching and drafting the Motions for Sanctions. (See Doc. No. 386-

2 at Ex. A.)   Accordingly, as the Court found in the Konover case, the fees

charged by Day Pitney LLP and paid by Defendants for Mr. Mueller’s services

were reasonable. (See Doc. No. 386-2 at 4.)

III.   CONCLUSION

       For these reasons and those set forth in the Application, Attorney Kyros

and his Law Offices should be ordered to pay Defendants $357,439.70 in fees and

costs that Defendants incurred in connection with the Motions for Sanctions, and

a disciplinary referral should be made. As noted in the Application, Defendants

excluded several timekeepers and categories of fees in an effort to be

conservative with respect to the fees for which they are seeking reimbursement.

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                                           DEFENDANTS WORLD WRESTLING
                                           ENTERTAINMENT, INC. and VINCENT K.
                                           McMAHON,

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                            CERTIFICATION OF SERVICE

       I hereby certify that, on November 5, 2018, a copy of foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing.
Notice of this filing will be sent by e-mail to all parties by operation of the Court’s
electronic filing system or by mail to anyone unable to accept electronic filing as
indicated on the Notice of Electronic Filing. Parties may access this filing
through the Court’s CM/ECF System.


                                             /s/ Jeffrey P. Mueller
                                            Jeffrey P. Mueller (ct27870)




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